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                         EXHIBIT 3
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                                 HARVARD UNIVERSITY
OFFICE OF THE PRESIDENT                                                       MASSACHUSETTS HALL
(617) 495-1502                                                                CAMBRIDGE, MASSACHUSETTS 02 I 38




                                                         May 12, 2025



  The Honorable Linda E. McMahon
  Secretary of Education
  US Department of Education
  400 Maryland Avenue, SW
  Washington, DC 20202

  Dear Madam Secretary:

        I write in response to your letter of May 5, 2025. As your letter suggests, we share common
  ground on a number of critical issues, including the importance of ending antisemitism and other
  bigotry on campus. Like you, I believe that Harvard must foster an academic environment that
  encourages freedom of thought and expression, and that we should embrace a multiplicity of
  viewpoints rather than focusing our attention on narrow orthodoxies. I also believe that Harvard
  cannot achieve these objectives if open debate undertaken in good faith is unwelcome. And you
  and I have a shared interest in ensuring that American universities continue to be global leaders in
  innovative and life-saving research that benefits all Americans, boosts the national economy, and
  serves the country’s interests. Finally, there is no question that Harvard must follow the law.

         Harvard’s efforts to achieve these goals are undermined and threatened by the federal
  government’s overreach into the constitutional freedoms of private universities and its continuing
  disregard of Harvard’s compliance with the law. It ignores the many meaningful steps we have taken
  and will continue to take to live up to our principles and improve the lives of people across the
  country and throughout the world. That is why we have gone to court to address the government’s
  unlawful attempt to control fundamental aspects of our university’s operations. Consistent with the
  law and with our own values, we continue to pursue needed reforms, doing so in consultation with
  our stakeholders and always in compliance with the law. But Harvard will not surrender its core,
  legally-protected principles out of fear of unfounded retaliation by the federal government.

        With respect for you and your office, I recount briefly what we have done and will do to
  uphold the highest standards of academic excellence, combat antisemitism and all forms of
  discrimination, ensure ethical governance, and continue our efforts to improve all of our activities.
  Our agenda touches on all aspects of university life with a view to making Harvard a better place
  for our entire community.

         Harvard has had significant changes in its leadership and governance over the past year and a
  half. I was appointed interim president in January 2024. Since I took office, we have installed a new
  provost, new deans for four of our schools, and new fellows of the Harvard Corporation. In each
  instance, we have recruited exceptional leaders to guide our community going forward. We have also
  centralized and clarified our disciplinary structures and procedures to make them more consistent,
  fair, and effective.
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       Harvard has implemented a comprehensive, institution-wide strategy to combat antisemitism
and other bigotry through policy and discipline reforms, academic investments, community support
initiatives, and educational programs. These actions reflect our commitment to ensuring that Jewish
and Israeli students, faculty, and staff experience a campus environment free from discrimination,
harassment, or marginalization. As you are aware, last month Harvard released the Report of the Task
Force on Combating Antisemitism and Anti-Israeli Bias and the Report of the Task Force on Combating Anti-
Muslim, Anti-Arab, and Anti-Palestinian Bias. These reports detail an extraordinarily painful year for
our community in the wake of the October 7, 2023, Hamas assault on Israel. The challenges of that
academic year have led to meaningful reform and recommendations designed to eliminate
antisemitism and other forms of hate from our campus, which we have detailed publicly. As an
institution of higher learning, we also understand that education is vital to fostering understanding
and mutual respect on our campus and have made substantial investments in expanding the
academic study of Judaism and related fields. These actions, from policy implementation to
academic investment to community support, demonstrate Harvard’s commitment to combating
bigotry in all its forms.

     I have also spoken out about the need for greater intellectual diversity on campus and have
commenced initiatives to make Harvard a more pluralistic and welcoming place. Knowing that
Harvard, like many universities, has more work to do on this front, we intend to implement and
expand these initiatives in the coming months.

       I must refute your claim that Harvard is a partisan institution. It is neither Republican nor
Democratic. It is not an arm of any other political party or movement. Nor will it ever be. Harvard
is a place to bring people of all backgrounds together to learn in an inclusive environment where
ideas flourish regardless of whether they are deemed “conservative,” “liberal,” or something else, a
place where assumptions and claims are tested and challenged, respectfully and thoughtfully, in
pursuit of knowledge and truth.

      For that reason, we are exploring approaches, consistent with law, to foster and support a
vibrant community that exemplifies, respects, and embraces difference. As we do so, we are
sharpening our focus on individuals and their unique characteristics rather than their race. Admission
to any of Harvard’s schools is based on academic excellence and promise, including measures such as
grades and the standardized test scores required for undergraduate applicants. In the wake of the
Supreme Court’s decision in Students for Fair Admissions and before admitting the next class, we took
additional steps across the university to ensure compliance with the law. We continue to refine our
efforts to identify and admit students who will contribute to our academic community through their
openness and capacity for constructive dialogue and civil discourse. We also seek to identify other
aspects of talent and excellence. These ongoing efforts to foster an environment where open inquiry
and mutual respect flourish, not only in classrooms but also throughout residential and social settings,
are intended to build empathy and understanding, and to enhance all aspects of learning.

      Our international students are vital members of our community who must meet the standards
of performance and conduct we expect of our US students. They enrich our community in many
ways. We are aware of no evidence for the allegation that they are collectively more prone to
disruption, violence, or other misconduct than any other students. They come to this country and
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to Harvard to learn and achieve at the highest levels, just as our US students do. Their presence,
talents, and scholarly contributions enrich our campus community and our nation.

       Employment at Harvard is similarly based on merit and achievement. We seek the best
educators, researchers, and scholars at our schools. We do not have quotas, whether based on race
or ethnicity or any other characteristic. We do not employ ideological litmus tests. We do not use
diversity, equity, and inclusion statements in our hiring decisions. We hire people because of their
individual accomplishments, promise, and creativity in their fields or areas of expertise, and their
ability to communicate effectively with students, faculty, and staff. And we take all of our legal
obligations seriously, including those that pertain to faculty employment at Harvard, as we seek to
offer our students the most dynamic and rewarding educational experience that we can.

      I hope you will take my response to your letter in the spirit in which it is intended: to convey
Harvard’s unwavering commitment to compliance with the law, to the elimination of antisemitism
and other bigotry on our campus, and to academic excellence. These goals are not unique to Harvard,
nor are we alone in confronting the challenge of achieving them. As is true of many other research
universities, we have taken important steps to improve our campus and achieve our mission, while
recognizing that our work will never be done. Research universities, including Harvard, have had a
long and productive relationship with the federal government. That relationship has driven economic
growth, innovation, and life-saving discoveries to the benefit of our nation and all humanity. We hope
that the partnership between higher education and the federal government will be vibrant and
successful for generations to come. As my colleagues and I have said, we welcome the opportunity to
share further information with you about the important work we are undertaking to combat prejudice
and to pursue our mission of excellence in teaching, learning, and research.

                                                       Sincerely,



                                                       Alan M. Garber
